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                                      U~II?~;D S'~',A~'1'~S liISTIZICT C:UC)RT
                                     CENTRAL DTSTRiC~" O~ CALTFt3RNIA
 United Stites af„A.r~erac~,                                       t;~s~xuz~c~~tt

                                                    ~t,a~irt~~~,                     ~z19-zr~~-05t1 -L?UTY-I
                               v.
 Virgo Cn~th                                                             I~TUT~~C~ OF DEFENDANT'S FAILURE
                                                                        T+O SAT~~~'Y COt~DITIi~N(S} ip►F BG1NI)
                                                                                   ORDER TI~~:R~U~i
                                               ~~~~rt~ntt~rr~s}.
'~`t~: Ccaur~ropm ~7e uty clerk t~ ~isir~ct Judge ~ Nla~istrate judge t~u~ier~ --
Defendant Vir it Griffith                                             ~wvas;
          Q released from cust+a~dy
          ~ nat released from cuxtudy
             ard~red ~+~Id t~ answer co the                                D~st~ct r►F                       an ter ~+ef~rre

end vas ardeared to s~~isfy conditian(s) cif tl~e brand on car before                               . 'T~ date,
however, the cc~nditi~n{s) listed ~ie~ow have nr~t been satisfied and the band has therefore not been pz~sted.
   p 'Th;e fz~llc►win~ dticument~s) have nat been received:
           p P~rsn GR-g3 Affidavit c~CSurety(ies) (Pr~p~rty)              D 1t~cQrried weed of °Trust
               (Jnstif~ea~io~]                                            ❑Form CIt-3; De~larati+an re:Passpart
           C1 Forsa CR-~4 A~~davit QfSurety(Na ju~tifc~ti+on)                and tJth~- Tr~v+el I,~ocu~nencs
           D I.t~t Br~c~~ ~tept~~rt ~n~irrnin ~ttle                       ~ ~assp~rt R~c~ipt from P'S1~
           p Property App~r~tsat ~r Tarr Assessment
    Q Equity +~fproperty i~ not suf~i~set~t to eca~rer the bail arnaunt
    D t~utstand ng warrants harre got n c9eared
      C~ Cash $                         has not been poste
      C ~fi~er:       -


                                                           C:l~xk, U.S~ Dist~i~~ Gaurt
12/26119                                                   I~~ D.Mitchell
date                                                           Ueputy Clerk
                    t~~►LR ()F THE DI5T1tIC'1' JUT)GE / MA~ISTR.A~'I`E JUUCxE
 T
I I~ 'CI~EREFt~RE HERE$Y +QRDERED T~TA,T:
   Q 'fie Clerk shall issue a bezach tu~rrant.
   D The Clerks}          nt~ct eo~xn~el end arrange a; st~tua eanf~rcnc~e as so<an as possible.
    C7 Thy Clerk shall issue a ~In~l Cozi~mitment and Warc$nt of Remcn~l.
     G$! Other. I~£enclant has b~~n transf~rrc~ci #c~ the Southern DistA'i~ct caf Ner~.Yor~. Nca ~'sirther action is
 Ue~~ember 27, Zfll9                                                    i ~a~ ~ aria A. Au+~era
Date                                                       United States~     ~Est ie ~u~e
